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                  EXHIBIT D
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B000415-022318 - Public Information Records

Message History (4)

      On 6/19/2018 5:40:48 PM, Texas A&M University Public Records Support wrote:

CC: Open-records@tamu.edu
06/19/2018

RE: PUBLIC RECORDS REQUEST, Reference # B000415

Dear Jeremy Beckham,

Texas A&M University received a public information request from you.

The information responsive to your request is provided in accordance with Attorney General Open Records Ruling 2018-12429 (see attached
letter). The responsive information can be obtained by visiting the Public Records Online Portal and logging in from the “My Request Center” tab.

Sincerely,
Open Records Office


      On 3/7/2018 4:48:45 PM, Texas A&M University Public Records Support wrote:


CC: openrecords@tamus.edu;Open-records@tamu.edu

3/07/18
For Requestor: Jeremy Beckham (B000415-022318): SEEKING OAG DECISION

The Texas A&M University System is seeking a decision from the Office of the Attorney General of
Texas regarding your open records request to Texas A&M University. Attached is a copy of our
correspondence being submitted today.

Thank you.
Dana Sweet




                                                                                                                                        Page 1
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    On 2/23/2018 3:16:11 PM, Texas A&M University Public Records Support wrote:

Dear Jeremy Beckham:

We received your public information request for Texas A&M University. Your request was given the
reference number B000415-022318 for tracking purposes. Please refer to this number when making inquiries
about your request.

You can monitor the progress of your request at the link below and you'll receive an email when your request
has been completed.

Thank you for your interest in Texas A&M University.



To monitor the progress or update this request please log into the Public Records Center.

    On 2/23/2018 3:16:11 PM, Texas A&M University Public Records Support wrote:

Request was created by staff




                                                                                                       Page 2
